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                         UNITED STATES BANKRUPTCY COURT
                           DISTRICT OF SOUTH CAROLINA



In re:                                                    Case No. 18-04316-dd


         Courtney DeShay Smith,                           Chapter 7


         Debtor.

    I, Sean Markham, an attorney with the Markham Law Firm, LLC, do hereby certify that a
    copy of the Notice of Bankruptcy were mailed to the parties below or on the attached list.
    Okinus, INC.
    147 W Railroad St. S
    Pelham, GA 31779

    Date of Service October 10, 2018                __/s/Sean Markham
                                                     Sean Markham, I.D. # 10145
                                                     Attorney for
                                                     P.O. Box 20074
                                                     Charleston,SC29413-0074
                                                     843-284-3646




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